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                 EXHIBIT 1
CALVERT COUNTY CIRCUIT COURT (Land Records) KPS 6589, p. 0254, MSA_CE4_6712. Date available 07/08/2024. Printed 08/08/2024.
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